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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

                                      )
REPUBLICAN NATIONAL                   )
COMMITTEE,                            )
                                      )
              Plaintiff,              )
                                      )
      v.                              )      Case No. 1:22-cv-00659-TJK
                                      )
NANCY PELOSI, et al.,                 )
                                      )
              Defendants.             )
                                      )


           PLAINTIFF’S MOTION FOR CLARIFICATION OF THE COURT’S
                             MAY 1, 2022 ORDER


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        On May 1, 2022, the Court issued its Order and accompanying Memorandum Opinion

dismissing Plaintiff’s complaint in part and entering judgment against Plaintiff on the merits.

[Dkt. Nos. 32 and 33.] At the conclusion of both the Order and the Memorandum Opinion, the

Court enters an administrative injunction providing Plaintiff until this Thursday, May 5, 2022 to

seek an injunction pending appeal. Plaintiff intends to seek appellate review of the Court’s

judgment and therefore will be filing for an injunction pending appeal in advance of Thursday,

May 5, 2022. However, neither the Order nor the Memorandum Opinion specify whether the

Court expects that Plaintiff’s forthcoming Motion for Injunction Pending Appeal should be filed

in the first instance before it (as contemplated by Federal Rule of Appellate Procedure 8(a)(1)),

or whether by entering the administrative injunction, the Court intends for Plaintiff to seek such

relief immediately in the D.C. Circuit under Federal Rule of Appellate Procedure 8(a)(2)(A)(i).

Plaintiff is pleased to file its motion in the first instance before this Court, but does not wish to

unnecessarily complicate the proceedings or otherwise delay appellate review by filing before

this Court if the Court intended to signal Plaintiff should proceed directly before the D.C.

Circuit.

        Hence, Plaintiff respectfully requests the Court clarify its Order and Memorandum

Opinion to state whether the Court will entertain a motion for injunction pending appeal or

whether the Court intends to direct Plaintiff to seek any injunction pending appeal directly with
the D.C. Circuit in the first instance.

        Plaintiff has conferred with counsel for the Congressional Defendants and Salesforce;

neither takes any position on this motion.


Respectfully submitted this 3rd day of May, 2022.




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                                 CERTIFICATE OF SERVICE
       I certify that on May 3, 2022, I filed this Plaintiff’s Motion for Clarification of The

Court’s May 1, 2022 Order via the CM/ECF system for the U.S. District Court for the District

of Columbia, which will cause a copy to be served on all registered parties.


                                                    s/ Christopher O. Murray
                                                    Christopher O. Murray




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